         Case 1:24-mj-00083-RMM Document 22 Filed 06/18/24 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :   CASE NO.: 1:24-mj-00083
                                                :
                Plaintiff                       :   MAGISTRATE JUDGE MOXILA
                                                :   A. UPADHYAYA
        vs                                      :
                                                :
PATRICK DUFFY                                   :   MOTION FOR PERMISSION TO
                                                :   TRAVEL
                Defendant                       :



        Now comes the Defendant, Patrick Duffy, by and through his attorney, and respectfully

requests that he be permitted to travel to Massachusetts from June 19, 2024 to June 22, 2024.

The purpose of this trip is for Defendant’s family to attend new student orientation at the

University of Massachusetts with one of his daughters. The family will be renting a vehicle and

staying in a hotel in the area.

        Defendant is not a flight risk, as he turned himself in immediately when he was charged

and has been in contact with his probation officer during the pendency of this case. Defendant’s

family has suffered tremendously over this situation and will continue to suffer, both emotionally

and financially, if he is not able to attend.
         Case 1:24-mj-00083-RMM Document 22 Filed 06/18/24 Page 2 of 2




       WHEREFORE, Defendant requests that this Honorable Court grant him leave to travel to

Massachusetts from June 19-June 22, 2024.

                                              Respectfully submitted,


                                              _/s/ Nancy T. Jamieson_____________
                                              NANCY T. JAMIESON (#0083880)
                                              11510 Buckeye Road
                                              Cleveland, OH 44104
                                              (216) 721-7700
                                              Nancy.jamieson@gmail.com
                                              Counsel for Defendant, Patrick Duffy




                                            SERVICE

         A copy of the foregoing Motion for Permission to Travel was served on Plaintiff by
electronically delivering a copy thereof to the United States Attorney for the District of
Columbia, through the Court’s e-filing system, this 18th day of June, 2024.


                                              _/s/ Nancy T. Jamieson_____________
                                              NANCY T. JAMIESON (#0083880)
                                              Counsel for Defendant, Patrick Duffy
